IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA, No. (“]- (DAZbI-CLSN- CE

Plaintiff, COUNT 1

18 U.S.C. §§ 2423(b) and (e)

V. NMT 30 Years Imprisonment

NMT $250,000 Fine

RAYMOND ADAIR, NLT 5 Years or Life Supervised Release
[DOB 03/30/1959] Class B Felony

COUNT 2

18 U.S.C. §§ 922(g)(3) and 924(a)(2)
Defendant. NMT 10 Years Imprisonment

NMT $250,000 Fine

NMT 5 Years Supervised Release
Class C Felony

Restitution
$100 Special Assessment Per Count

INFORMATION

THE UNITED STATES ATTORNEY CHARGES THAT:

COUNT 1
On or about May 9, 2016, said dates being approximate, in McDonald County, and
elsewhere in the Western District of Missouri, RAYMOND ADAIR, the defendant, did travel in
interstate commerce, from McDonald County, Missouri, to Benton County, Arkansas, for the
purpose of engaging, or attempting to engage, in any illicit sexual conduct, as defined in Title 18,
United States Code, Section 2246, with a person under 18 years of age that would be in violation

of Chapter 109A of Title 18, United States Code, had the sexual act occurred in the special

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maritime and territorial jurisdiction of the United States, all in violation of Title 18, United States
Code, Sections 2423(b) and (e).
COUNT 2

On or about May 11, 2016, the defendant, being addicted to a controlled substance as
defined in Title 21 United States Code, Section 802, did knowingly possess in and affecting
interstate commerce, firearms, a Colt M4 5.56mm semi-automatic rifle, a Glenfield Model 60
22LR caliber semi-automatic rifle, and a Ruger 10/22 semi-automatic rifle, said firearms having
had been shipped and transported in interstate commerce, in violation of Title 18, United States

Code, Sections 922(g)(3) and 924(a)(2).

Thomas M. Larson

Acting United States NLS
By: La

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DATED: Mag, 24 2077

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